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                        With the Name ofAllah, the Most Gracious, the Most Merciful


                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA

Regina M. Hunter El.                        )
                                            )
                              Petitioner(s) )                CIA No. 3:24-cv-5569-MGL-SVH
                                            )
                    V.                      )
                                            )              EMERGENCY PETITION FOR
U.S. Department of Veteran Affairs          )               EXTRAORDINARY WRIT
Uber Technologies, Inc.                     )
                                            )
                           Respondents(s) )


               EMERGENCY PETITION FOR EXTRAORDINARY WRIT

       NOW COMES, the Petitioner to ask this Court to issue an emergency writ directing the,

William Jennings Bryan Dorn Veterans Affairs Medical Center ("VA Dorn"), to piclf<OO'BliJ<USDC COLA SC
                                                                                    OCT 4 '24 PM4:30
Hunter, ("Elijah") a 92 year old Marine veteran from New York and return him to their

Emergency Room in Columbia, South Carolina.              Contrary to VA Dorn policy, Elijah was

transported to Columbia Metropolitan Airport instead of his last known address in Rembert,

South Carolina endangering his life and facilitating an imminent marriage to his paramour.

Elijah is a vulnerable adult exposed to financial exploitation and emotional manipulation.


       On 30 September 2024, Elijah was admitted to VA Dorn Emergency Room. "Raven", a

Social Worker screened him and he was examined by Dr. "Mecher" (first name correct spelling

of last name unknown). Finding no incapacitation, Elijah was discharged and an Uber ordered to

drive his home. The Social Worker received verbal confirmation from Elijah that he understood

transport was to his last known residence (3065 North Kings Hwy., Rembert, SC). Elijah

understood that the VA did not provide transport to the airport. He was told that once he reached

home he would need to make his own arrangements to travel to the airport. The Petitioner


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